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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                       CRIMINAL ACTION NO. 17-00205-03

 VERSUS                                         JUDGE S. MAURICE HICKS, JR.

 DENNIS L. DAVIS                                MAGISTRATE JUDGE HORNSBY


                                         ORDER

       The Report and Recommendation of the Magistrate Judge having been

 considered, and the parties having waived their objections thereto;

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant’s

 guilty plea is accepted, and the court hereby adjudges Defendant guilty of the offense

 charged in Count 3 of the Indictment.

       THUS DONE AND SIGNED in Shreveport, Louisiana, this 18th day of

 December, 2018.
